                                           WALTERS & WALTERS
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                                                  ATTORNEYS AT LAW

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 MEMORANDUM ENDORSED
                                                                                                     • Also admitted in the State of New Jersey
                                                                                                             and the District of Columbia

                                                           November 4, 2021
       ViaECF                                                                                USDC SDNY
       Hon. Gregory H. Woods, U.S.D.J.                                                       DOCUMENT
       Daniel Patrick Moynihan                                                               ELECTRONICALLY FILED
       United States District Courthouse                                                     DOC #:
       500 Pearl Street, Courtroom 12C                                                       DATE FILED: 11/5/21
       New York, New York 10007

                         Re:     Velazquez v. Olde Good Things, Inc., et al.
                                 (Docket No. 21-cv-4431)
       Honorable Sir:

              Please be respectfully advised that our firm represents Defendant Olde Good Things, Inc.
       in the above-referenced matter. However, we respectfully submit this correspondence jointly
       with Plaintiff.

               The parties are currently in pre-answer settlement discussions to see if this matter can be
       resolved in its entirety without the necessity of further judicial intervention. However, while the
       settlement discussions are being conducted in good-faith by alJ parties, we require more time to
       see if an ultimate resolution can be reached.

               Currently, there is an initial conference scheduled to take place on November 9, 2021
       before Your Honor. However, we believe that there is a reasonable chance that the conference
       may be mooted by a global settlement in this matter and request that it be adjourned so that the
       parties can further explore and discuss settlement. To that end, we respectfully request that
       Defendants' time to answer the Complaint be extended for two months - to January 4, 2022 -
       and that the initial conference be rescheduled to a date shortly thereafter.

               Should Your Honor have any questions regarding san1e or require anything further,
       please do not hesitate to contact the undersigned.

       cc:      B. Bradley Weitz, Esq. (via ECF)

  Application granted. The deadline for defendant to
  answer or otherwise respond to the complaint is
  extended to January 4, 2022. The initial pretrial
  conference currently scheduled for November 9,
  2021, is adjourned to January 18, 2022 at 4:30 p.m.      SO ORDERED.
  The joint status letter and proposed case                Dated: November 5, 2021   _____________________________________
                                                                                           GREGORY H. WOODS
  management plan described in the Court’s September       New York, New York             United States District Judge
  21, 2021 order are due no later than January 11, 2022.
  The Clerk of Court is directed to terminate the
  motion currently pending at Dkt. No. 12.
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